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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION

UNITED STATES OF AMERICA               )
                                       )
            vs.                        )          No. 3:10-CR-49(3) RM
                                       )
ARMAND WHITE                           )


                                    ORDER

      No objections have been filed to the magistrate judge’s findings and

recommendation upon a plea of guilty issued on June 18, 2010 [Doc. No. 41].

Accordingly, the court now ADOPTS those findings and recommendation,

ACCEPTS defendant Armand White’s plea of guilty, and FINDS the defendant

guilty of Counts 1 and 2 of the Indictment, in violation of 18 U.S.C. §§ 2 and

2113(d) and 18 U.S.C. § 924(c). Pursuant to the terms of the plea agreement, the

motion to suppress filed on June 8, 2010 [Doc. No. 27 ] is withdrawn.

      SO ORDERED.

      ENTERED:     July 12, 2010




                                      /s/ Robert L. Miller, Jr.
                                    Judge
                                    United States District Court
